CaSe 2212-CV-10273-PDB-RSW ECF NO. 143-23 filed 06/22/18 Page|D.5760 Page 1 Of 2

EXHIBIT 22

CaSe 2212-CV-10273-PDB-RSW ECF NO. 143-23 filed 06/22/18 Page|D.5761 Page 2 Of 2

Jason Hirsch

From: Bursch, John <jbursch@an.ccm>

Sent: Weclnesday, l\/lay ll, 2016 3:28 PM

To: Jason Hirsch; Miiler, leanmarie (AG); Dan Artaev; l\lelson, l\/latthew

Cc: Mayer Morganroth; Joshua A. Fisher; rj@mil<ecoxlaw.com;jburnett@mil<ecoxlaw.com
Subject: RE: James v l-lampton et al

Attachments: Grievance Codes.pdf

Importance: l-ligh

All,

Attached is a list of the 18 grievance codes that the JTC uses When a new case comes in. The
three grievances underiying the formal complaint against Ms. games Wel“e ceded 13 (gl~ievance
2011-19202), 14 (2011~1982), and '? (2()11-19381), We intend co discuss these codes at the
hearing tomorrow moyning as a screams to narrow the scope of the document production Piease
let me know if you have any questions

Best Iegards,

John

  
 

John J. Bursch | Partner

_ Warner Norcross §§ Judd LLP

900 Fifth Third Center § 111 Lyon Street NW ] Grand Rapids, lVll 49503-2487
p 616.752.2474 | f616.222.2474 ibursch@Wn§.com

Proi"ile

l_ini<edln

SCOTUS arguments on Oyez
One Court ofdustice Blog

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From: 3a50n Hirsch [mai|to:JHirsch@morganrothlaw.com]

Sent: Monday, May 02, 2016 11:38 AM

To: Miiler, Jeanmarie (AG); Dan Artaev; Bursch, John; Ne|son, Matthew
Cc: Mayer Morganroth; Joshua A. Fisher

Subject: RE: James v Harnpton et al

Ceunsel,

Regarding the above-referenced matter, Mr. Bursch {Who have added to this small chain, as Weii as l\flr. Neison)
and | had a telephone discussion a few minutes ago. We agreed that We Will extend the deadline for the JTC
Deiendants' response to the motion for reconsideration for two weeks (l\/§r. Bursch Wiil circulate a proposed stipoiation,

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